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                     UNITED STATES COURT OF INTERNATIONAL TRADE
                  BEFORE THE HONORABLE JENNIFER CHOE-GROVES, JUDGE


                                              )
HYUNDAI STEEL COMPANY,                        )
                      Plaintiff,              )
                                              )
SEAH STEEL CORPORATION,                       )
                      Consolidated Plaintiff, )
                                              )
                   v.                                Court No. 18-00154
                                              )
UNITED STATES,                                )
                                              )
                      Defendant,
                                              )
WHEATLAND TUBE COMPANY,                       )
                                              )
                      Defendant-Intervenor.
                                              )


                              AMENDED SCHEDULING ORDER

      Upon consideration of the motion filed by SeAH Steel Corporation (“SeAH”) to

 amend the Court’s June 15, 2022, scheduling order (ECF No. 114), it is hereby

      ORDERED that SeAH’s motion to amend the scheduling order is granted; and it is

 further

      ORDERED that Commerce shall file the administrative record no later than August 16,

 2022; and it is further

      ORDERED that the requirements to file comments on Commerce’s August 2, 2022,

 final redetermination on fourth remand (ECF No. 116) and a joint appendix are waived.


                                                Signed:
                                                ____________________________
                                                   Judge Jennifer Choe-Groves

 Dated: ___________________
          New York, NY
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                     UNITED STATES COURT OF INTERNATIONAL TRADE
                  BEFORE THE HONORABLE JENNIFER CHOE-GROVES, JUDGE


                                              )
HYUNDAI STEEL COMPANY,                        )
                      Plaintiff,              )
                                              )
SEAH STEEL CORPORATION,                       )
                      Consolidated Plaintiff, )
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                   v.                                  Court No. 18-00154
                                              )
UNITED STATES,                                )
                                              )
                      Defendant,
                                              )
WHEATLAND TUBE COMPANY,                       )
                                              )
                      Defendant-Intervenor.
                                              )


                            MOTION TO AMEND SCHEDULING ORDER

      On behalf of Consolidated Plaintiff SeAH Steel Corporation (“SeAH”), SeAH

 respectfully moves this Court to amend the June 15, 2022, scheduling order (ECF No. 114)

 in the above-referenced case.

      Pursuant to the Court’s June 15, 2022, scheduling order, the deadlines for submissions

 by all parties are as follows:

           ▪     Final redetermination on fourth remand due no later than August 15, 2022.

           ▪     Administrative record due no later than August 29, 2022.

           ▪     Comments in opposition to the final redetermination on fourth remand due

                 no later than September 19, 2022.

           ▪     Comments in support to the final redetermination on fourth remand due no

                 later than October 3, 2022.

           ▪     Joint appendix due no later than October 11, 2022.
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However, Commerce filed the final redetermination on fourth remand early with the Court

on August 2, 2022 (ECF No. 116). In addition, as described in Commerce’s final

redetermination on fourth remand, no parties filed comments on the draft remand

redetermination during the underlying administrative proceeding. Since there were no

objections to the draft remand redetermination and there were no changes between the

draft and final version of the redetermination on fourth remand, SeAH believes that no

further briefing before the Court is necessary.

     In these circumstances, and in the interest of judicial economy, SeAH moves to

amend the deadline for the administrative record to 14 days after the final redetermination

on fourth remand was filed by Commerce and to waive all deadlines for comments

regarding the final redetermination and the joint appendix. Accordingly, the revised

schedule would be as follows:

          ▪     Administrative record due no later than August 16, 2022.

And, once Commerce files the administrative record, the case would be ripe for disposition

by the Court.

     On August 4, 2022, counsel for the United States, Joshua E. Kurland; and counsel for

Wheatland Tube Company, Elizabeth J. Drake, consented to this motion. On August 5,

2022, counsel for Hyundai Steel Company, Henry D. Almond, stated that they do not

oppose the motion.


                                                  Respectfully submitted,

                                                  /s/ Jeffrey M. Winton

                                                  Jeffrey M. Winton
                                                  Amrietha Nellan

                                                  Counsel to SeAH Steel Corporation
Date: August 5, 2022


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